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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-20008-CR-LEIBOWITZ(s)(s)

  UNITED STATES OF AMERICA

  vs.

  MICHAEL KARL GEILENFELD,

         Defendant.
                                            /

          UNITED STATES’ SUPPLEMENTAL PROPOSED JURY INSTRUCTION

         The United States respectfully requests that the Court provide the following jury

  instruction prior to deliberations:

                                        Prior Consistent Statements

                 You have heard evidence that Victim L and Victim N 1 each made

         statements on previous occasions and that these statements may be consistent with

         their testimony here at trial. These earlier statements were brought to your

         attention to help you in evaluating their credibility and as evidence in this case. If

         you find that the earlier statement is consistent with the witness’s present

         testimony in court, you may consider this consistency in judging the credibility of

         the witness here at trial and as proof that what was said in the earlier statement

         was true. It is for you to decide whether a witness made a statement on an earlier

         occasion and whether it was in fact consistent with the witness’s in-court




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    Victim L and Victim N are identified by pseudonym only for purposes of this filing. The
  government requests that they be identified by name in this Court’s final instructions to the jury.
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         testimony here. 2

         Such an instruction is warranted here because Victim L and Victim N’s prior consistent

  statements have been admitted as substantive evidence in this case pursuant to Fed. R. Ev.

  801(d)(1)(b). See Government’s Trial Exhibits 48, 49, 51, and 52.          The jury needs to be

  instructed on how they can consider Victim L and Victim N’s prior consistent statements since

  “a witness’s earlier testimony or statements are not ordinarily offered or received as evidence of

  their truth or accuracy.” See Eleventh Circuit Pattern Instruction T2 (2024) (emphasis added).

         Moreover, appellate courts have approved instructions similar to the government’s

  proposed instruction here. See Third Circuit Pattern Criminal Jury Instructions § 2.15 (Prior

  Consistent Statements) 3; see also United States v. Ward, 21 F.3d 264, 265 (8th Cir. 1994)

  (“Defendant complains, first, about the instruction that prior consistent statements of certain

  witnesses could be considered ‘as evidence of the truth of the matters contained in’ them.

  Defendant asserts that this direction improperly emphasized a particular piece of evidence and

  improperly commented on the weight to be given the relevant testimony. We reject this

  contention. The instruction was an unarguably correct statement of the law and the jury was

  entitled to know what the law was.”). Likewise, such an instruction is appropriate here.


                                               Respectfully submitted,

                                               HAYDEN O’BYRNE
                                               UNITED STATES ATTORNEY

                                        By:    /s/ Lacee Elizabeth Monk
                                               Lacee Elizabeth Monk
                                               Assistant United States Attorney


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    The proposed instruction is based upon 1 Criminal Jury Instructions for DC Instruction 2.217
  (2024).
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        The    Third      Circuit’s    pattern   jury     instructions    are    available     at
  https://www.ca3.uscourts.gov/model-criminal-jury-table-contents-and-instructions.
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 18, 2025, I filed this document electronically using the

  CM/ECF system and thereby caused a copy of the same to be served on all counsel of record.


                                                     /s/ Lacee Elizabeth Monk
                                                     Lacee Elizabeth Monk
                                                     Assistant United States Attorney




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